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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

Wilmer Garcia Ramirez, et al.,            ) Case No.: 1:18-cv-00508
                                          )
Plaintiffs,                               )
                                          )
v.                                        )
                                          ) Declaration Charles J. Mader
U.S. Immigration and Customs Enforcement, )
et al.,                                   )
                                          )
Defendants.                               )
                                          )

                        DECLARATION OF CHARLES J. MADER

       I, Charles J. Mader, hereby make the following declaration with respect to the above-

captioned matter:

       1. I am employed as a Supervisory Information Technology (IT) Specialist in the Office

          of the Chief Information Officer (OCIO) for the U.S. Immigration and Customs

          Enforcement (ICE) in OCIO’s Operations division. I have held this position since

          February 19, 2017. Prior to this position, I was an Information Technology Specialist

          for ICE. I have over twenty years of experience in Information Technology. I

          attended University of Maryland, American Military University, Software

          Engineering Institute at Carnegie Mellon University and various industry training

          courses.



       2. ICE OCIO is responsible for providing information technology services and products

          that enable ICE to meet its mission. Services that the OCIO provides include

          hardware and software support, sharepoint and web services, mobile device support,

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   and cyber security education. Specifically, the Enterprise Services Branch serves a

   key function for ICE as it provides centralized management and comprehensive

   support to IT operations across the agency such as Service Desk support, Network

   Infrastructure, Active Directory and Exchange, Change Management, and

   Investigation and Litigation support to achieve IT efficiency and effectiveness for the

   more than 26,000 ICE users across the globe.



3. As a Supervisory Information Technology Specialist in the Operations Division, my

   official duties and responsibilities include management of the Enterprise Services

   Branch. This includes management of the agency service desk, active directory and

   exchange, mobile messaging, FOIA and litigation data recovery, change

   management, infrastructure defense group and the incident coordination center.



4. I make this declaration in my official capacity in support of the above-captioned

   litigation. The statements contained in this declaration are based on my personal

   knowledge and experience, upon information provided to me in my official capacity,

   and upon conclusions and determinations made in accordance therewith.



5. On Monday, October 15, 2018, I was informed that ICE was to begin searching the

   emails of a number of custodians using search terms provided by plaintiffs. The list

   of search terms I was provided is attached. I subsequently received a list of

   preliminary custodians whose emails were to be searched. The updated list of 57

   potential custodians I received today included the date range for the searches.


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6. ICE utilized Enterprise Vault to journal and store email traffic transmitted between

   December 2008 and the agency’s transition to O365, which occurred during the

   summer of 2018. As employees were migrated to O365, their mail journaling,

   retention and recovery services were initiated in O365. During the transition to

   O365, employees’ email traffic during the Summer of 2018 was retained in both

   Enterprise Vault and O365 for various periods of time depending on when their

   account transitioned to O365. Ingestion of data into Enterprise Vault was stopped on

   August 13, 2018.



7. We began the search process by conducting test searches and export of the emails and

   attachments of Tae Johnson, Assistant Director for Custody Management, from

   January 1, 2016 to the present.



8. We used the Enterprise Vault system to gather all Mr. Johnson’s emails and

   attachments from January 1, 2016, to July 12, 2018.



9. We used Microsoft O365 to search Mr. Johnson’s emails from July 13, 2018 to

   present.



10. The searches identified 442,328 items, consisting of 117 giga bytes of information,

   and took approximately one hour to perform. Next, we accepted and exported the

   search results from Enterprise Vault. This process converts the search results into

   *.pst files and took 16 hours. The next step in the process is to transfer the Enterprise


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   Vault files to a drop location, which is a folder on a shared drive, so they can be

   loaded into Relativity. We have not yet completed the transfer of the files but

   estimate the time to be up to 40 hours. At this time, it has taken 8 hours to transfer

   20% of the files. Relativity is ICE’s eDiscovery software used to search, review,

   redact and produce electronically stored information for litigation purposes.



11. Next we used Enterprise Vault and O365 to search Mr. Johnson’s emails using

   specific search terms. Enterprise Vault does not have a robust search capability and

   is limited to simple Boolean searches using “AND,” “OR” and “NOT” The search

   capability also includes special characters such as “*” for a universal character.

   However, Enterprise Vault cannot perform proximity searches, such as “age w/2 out.”

   It cannot conduct complex searches with multiple criteria, such as “(A or B) and (C or

   D)”. O365 has a more robust search capability, but is limited to searching only those

   emails and attachments stored in its system. Proximity searches can be performed in

   Relativity. In addition, Enterprise Vault can only conduct one search per custodian

   within the same timeframe at a time. Enterprise Vault can perform up to four

   searches simultaneously for four different custodians. For example: searching all of

   Mr. Johnson’s mail from January 1, 2016 to July 12, 2018 is one search. We could

   not simultaneously conduct a keyword search during January 1, 2016 to July 12, 2018

   on Mr. Johnson’s emails and attachments.



12. We performed a search of all Mr. Johnson’s emails and attachments from January 1,

   2016, to present using the search term: age-out*. The search identified 1,517 items


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           and took approximately one hour to perform. The size of the *.PST will not be known

           until the results are exported.

       13. We performed a search of all Mr. Johnson’s emails and attachments from January 1,

           2016, to present using the search string: “1232(c)(2)(B)” OR 1232c2b OR "1232 c 2

           B". The search identified 269 items and took approximately one hour to perform.

           The size of the *.PST will not be known until the results are exported.


Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
correct. Executed on this 18th day of October 2018, at Scottdale, Arizona.




                      ________________________________
                      Charles J. Mader
                      Supervisory Information Technology Specialist
                      U.S. Immigration and Customs Enforcement




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                                                   PLAINTIFFS’ PROPOSED SEARCH TERMS


                                                                                                                                                  Date Range
    RFP                                                                                                                                            Or Other
                                Plaintiffs’ Request                                     Plaintiffs’ Proposed Search Terms 1
    No.                                                                                                                                           Limitations
                                                                                                                                                   To Apply
                                                                                age-out*
          All documents and communications reflecting,                          age* w/2 out*
          referring or relating to any ICE policies, practices,                 (attain* or reach* or turn*) w/10 (18* or
          protocols or other guidance with respect to                           eighteen*)
          implementing       or    complying     with     Section
                         2
          1232(c)(2)(B), including without limitation all                       (age* w/5 majority*)                                            1/1/2016 to
          documents reflecting, referring or relating to any ICE                (18* or eighteen*) w/5 birthday*                                present
     1
          policies, practices, protocols, or other guidance with                (18* or dieciocho*) w/5 anos*
          respect to placing unaccompanied alien children who
                                                                                post-18*
          are transferred to ICE on or after they turn 18 in the
          least restrictive setting utilizing a continuum of                    (post* w/2 (18* or eighteen*))
          alternative to detention programs as described in                     (“1232(c)(2)(B)” or 1232c2b or "1232 c 2 B")
          Section 1232(c)(2)(B).                                                w/50 (polic* or guid* or process* or require* or
                                                                                handbook* or protocol*)




1
     The “w/XX” connector in these search terms provides that terms be within a certain number of words of the following terms. For example “w/25” means
     “within 25 words of.” The asterisk is a “wildcard” intended to capture variations on the root presented. For example, the term “plac*” should yield results for
     “place,” “places,” “placing,” etc.

2
     Request No. 1 originally contained a typo in referring to “Section 132(c)(2)(B)” rather than “Section 1232(c)(2)(B),” which has been corrected here.
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                                                                                                                  Date Range
RFP                                                                                                                Or Other
                        Plaintiffs’ Request                             Plaintiffs’ Proposed Search Terms 1
No.                                                                                                               Limitations
                                                                                                                   To Apply
                                                                  age-out*
                                                                  age* w/2 out*
                                                                  (attain* or reach* or turn*) w/10 (18* or
      All documents and communications reflecting,                eighteen*)
      referring or relating to any training of ICE employees
      with respect to Section 1232(c)(2)(B), including            age* w/5 majority*
      without limitation any power point or other                 (18* or eighteen*) w/5 birthday*               1/1/2016 to
 2
      presentation materials, and any other documents             (18* or dieciocho*) w/5 anos*                  present
      relating to the training, including the dates, locations,
                                                                  post-18*
      presenters, and attendees at any training sessions or
      other meetings or calls at which training was discussed.    post* w/2 (18* or eighteen*)
                                                                  (“1232(c)(2)(B)” or 1232c2b or "1232 c 2 B")
                                                                  w/50 (train* or meet* or confer* or call* or
                                                                  presentation* or .pptx .ppt)




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                                                                                                                       Date Range
RFP                                                                                                                     Or Other
                       Plaintiffs’ Request                            Plaintiffs’ Proposed Search Terms 1
No.                                                                                                                    Limitations
                                                                                                                        To Apply
                                                                age-out*
                                                                age* w/2 out*
                                                                (attain* or reach* or turn*) w/10 (18* or
                                                                eighteen*)
                                                                age* w/5 majority*
                                                                (18* or eighteen*) w/5 birthday*
      All documents reflecting, referring or relating to any
      communications to or from any ICE field office,           (18* or dieciocho*) w/5 anos*
      including without limitation ERO Field Office             post-18*
      Directors, Deputy Field Office Directors, or Field        post* w/2 (18* or eighteen*)                          1/1/2016 to
 3    Office Juvenile Coordinators, referring or relating to
                                                                (“1232(c)(2)(B)” or 1232c2b or "1232 c 2 B")          present
      Section 1232(c)(2)(B), including without limitation its
      requirements and any directions or guidance with          (Violence Against Women Act or VAWA) w/25
      respect to implementing and complying with the            (1261 or 2013)
      provision.                                                (plac* or com* or enter* or transfer*) w/25 ("adult
                                                                facility" or "adult custody" or "adult detention*")
                                                                transfer* w/25 ("ORR custody" or "ICE custody")
                                                                least* w/10 restrictive*
                                                                alternative* w/15 detention*
                                                                minor* w/25 sponsor*




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                                                                                                                        Date Range
RFP                                                                                                                      Or Other
                       Plaintiffs’ Request                             Plaintiffs’ Proposed Search Terms 1
No.                                                                                                                     Limitations
                                                                                                                         To Apply
                                                                 age-out*
                                                                 age* w/2 out*
      All documents reflecting, referring or relating to the
      “Risk Classification Assessment” database tool that is     (attain* or reach* or turn*) w/10 (18* or
      referenced in Paragraph 7 of the 3/27/2018 Declaration     eighteen*)
      of Supervisory Deportation and Detention Officer           (age* w/5 majority*)
      Michael Leal, Ex. E to Defendants’ Opposition (ECF         (18* or eighteen*) w/5 birthday*
      20-5, at 3), including without limitation documents                                                              1/1/2016 to
 4                                                               (18* or dieciocho*) w/5 anos*
      sufficient to show who created that tool, when it was                                                            present
      created, the reasons or purposes for which it was          post-18*
      created, its scoring system for determining public         post* w/2 (18* or eighteen*)
      safety and flight risk, how it has been used or is being   (“1232(c)(2)(B)” or 1232c2b or "1232 c 2 B")
      used, and any policy or practice with respect to           w/50 ("risk* classif*" or "risk assess*" or danger*
      overriding its recommendations.                            or "flight* risk*")




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                                                                                                                           Date Range
RFP                                                                                                                         Or Other
                        Plaintiffs’ Request                               Plaintiffs’ Proposed Search Terms 1
No.                                                                                                                        Limitations
                                                                                                                            To Apply
                                                                    age-out*
                                                                    age* w/2 out*
                                                                    (attain* or reach* or turn*) w/10 (18* or
      All documents and communications reflecting,                  eighteen*)
      referring or relating to any application or use by ICE of     (age* w/5 majority*)
      the “Risk Classification Assessment” database tool            (18* or eighteen*) w/5 birthday*
      described in Request No. 4 above in implementing or                                                                 1/1/2016 to
 5                                                                  (18* or dieciocho*) w/5 anos*
      complying with Section 1232(c)(2)(B) or placing                                                                     present
      unaccompanied children who are transferred to ICE on          post-18*
      or after they turned 18 in the least restrictive setting as   post* w/2 (18* or eighteen*)
      described in Section 1232(c)(2)(B).                           (“1232(c)(2)(B)” or 1232c2b or "1232 c 2 B")
                                                                    w/50 ("risk* classif*" or "risk assess*" or danger*
                                                                    or "flight* risk*")




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                                                                                                                        Date Range
RFP                                                                                                                      Or Other
                       Plaintiffs’ Request                             Plaintiffs’ Proposed Search Terms 1
No.                                                                                                                     Limitations
                                                                                                                         To Apply
                                                                 age-out*
                                                                 age* w/2 out*
                                                                 (attain* or reach* or turn*) w/10 (18* or
      All documents and communications reflecting,               eighteen*)
      referring or relating to the risk assessments or other
                                                                 (age* w/5 majority*)
      results, conclusions, or output that resulted from
      application of the Risk Classification Assessment          (18* or eighteen*) w/5 birthday*
                                                                                                                       1/1/2017 to
 6    database tool described in Request No. 4 above to the      (18* or dieciocho*) w/5 anos*
                                                                                                                       present
      individual named plaintiffs in this action and any other   post-18*
      unaccompanied alien children who have been
      transferred to ICE custody from ORR on or after            post* w/2 (18* or eighteen*)
      turning 18 since January 1, 2017.                          (“1232(c)(2)(B)” or 1232c2b or "1232 c 2 B")
                                                                 w/50 ("risk* classif*" or "risk assess*" or danger*
                                                                 or "flight* risk*")




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                                                                                                                 Date Range
RFP                                                                                                               Or Other
                       Plaintiffs’ Request                             Plaintiffs’ Proposed Search Terms 1
No.                                                                                                              Limitations
                                                                                                                  To Apply
                                                                 age-out*
                                                                 age* w/2 out*
                                                                 (attain* or reach* or turn*) w/10 (18* or
                                                                 eighteen*)
      All documents and communications that identify or
      describe alternative to detention programs or other        age* w/5 majority*
      alternatives to adult detention that ICE contends it has   (18* or eighteen*) w/5 birthday*               1/1/2016 to
 7
      made, or currently makes, available to unaccompanied       (18* or dieciocho*) w/5 anos*                  present
      alien children who are transferred to ICE on or after
                                                                 post-18*
      they turn 18 pursuant to Section 1232(c)(2)(B).
                                                                 post* w/2 (18* or eighteen*)
                                                                 (“1232(c)(2)(B)” or 1232c2b or "1232 c 2 B")
                                                                 w/50 ("least* restrictive*" or "alternative*
                                                                 detention*" or "minor* sponsor*")
                                                                 age-out*
                                                                 age* w/2 out*
                                                                 (attain* or reach* or turn*) w/10 (18* or
                                                                 eighteen*)
      All documents and communications reflecting,
      referring or relating to ICE’s creation and use of a       age* w/5 majority*
      continuum of alternative to detention programs as          (18* or eighteen*) w/5 birthday*               1/1/2016 to
 8
      described in Section 1232(c)(2)(B) for unaccompanied       (18* or dieciocho*) w/5 anos*                  present
      alien children who are transferred to ICE on or after
                                                                 post-18*
      they turn 18.
                                                                 post* w/2 (18* or eighteen*)
                                                                 (“1232(c)(2)(B)” or 1232c2b or "1232 c 2 B")
                                                                 w/50 ("least* restrictive*" or "alternative*
                                                                 detention*" or "minor* sponsor*")

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                                                                                                                         Date Range
RFP                                                                                                                       Or Other
                        Plaintiffs’ Request                              Plaintiffs’ Proposed Search Terms 1
No.                                                                                                                      Limitations
                                                                                                                          To Apply
                                                                   age-out*
      All documents and communications regarding, relating
                                                                   age* w/2 out*
      to, or referring to the detention, placement, or release
      of each former unaccompanied alien child, as defined         (attain* or reach* or turn*) w/10 (18* or
      under 6 U.S.C. § 279(g)(2), who has been transferred         eighteen*)
      from the custody of ORR to the custody of ICE since          age* w/5 majority*
      July 1, 2018 (regardless of whether he or she is             (18* or eighteen*) w/5 birthday*
      currently in ICE’s custody)—including, without
      limitation, for each of the “fifty-three such individuals”   (18* or dieciocho*) w/5 anos*
      that ICE identified as members of the class as of            post-18*
      September 5, 2018, see Joint Statement Regarding             recommend* /w 10 release*
      Proposed Schedules for Further Proceedings & Local
                                                                   post* w/2 (18* or eighteen*)
      Rule 16.3 at 8, ECF No. 51. This request includes, but                                                             7/1/2018 to
13                                                                 (“1232(c)(2)(B)” or 1232c2b or "1232 c 2 B")
      is not limited to, any responsive documents in the “A”                                                             present
      file for such individual and any emails or other             ("Violence Against Women Act" or VAWA) w/25
      communications relating to the detention, placement, or      (1261 or 2013)
      release of such individual, including any emails or other    (plac* or com* or enter* or transfer*) w/25 ("adult
      communications to or from the field office juvenile          facility" or "adult custody" or "adult detention*" or
      coordinator, enforcement officer, or any other field         "ORR custody" or "ICE custody" or “ORR
      office employee who participated or was involved in          detention*” or “ICE detention*”)
      any decision as to the detention, placement, or release
      of such individual. This request also includes, but is       least* w/10 restrictive*
      not limited to, documentation regarding, referring, or       alternative* w/15 detention*
      relating to the risk classification assessment performed     (minor* or teen* or juvenile*) w/25 sponsor*
      for such individuals.




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